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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.

UNITED STATES OF AMERICA,

Plaintiff,
v.

ONE (1) 2012 ROLLS ROYCE
PHANTOM DROPHEAD,
BEARING VIN
SCA682D53CUX16710,

ONE (1) 2016 FERRARI FF
MODEL, BEARING VIN
ZFF73SKA0G0215302,

ONE (1) 2017 PORSCHE 911
TURBO COUPE 2D, BEARING
VIN WP0AD2A94HS8 166412, and

ONE (1) 2014 MASERATI
QUATTROPORTE, BEARING VIN
ZAM56PPA7E1084665,

Defendants Jn Rem.
/

VERIFIED COMPLAINT FOR FORFEITURE IN REM

 

Plaintiff, United States of America, by and through the undersigned Assistant United States
Attorney for the Southern District of Florida, hereby files this complaint for forfeiture and alleges
as follows:

1. This is a civil action in rem for the forfeiture of the following Defendants Jn Rem

(collectively, the “Defendant Vehicles”) pursuant to18 U.S.C. § 981(a)(1)(C):
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a. One (1) 2012 Rolls Royce Phantom Drophead, bearing Vehicle Identification
Number (“VIN”) SCA682D53CUX16710 (the “Rolls Royce”);

b. One (1) 2016 Ferrari FF Model, bearing VIN ZFF73SKA0G0215302 (the
“Ferrari’”);

c. One (1) 2017 Porsche 911 Turbo Coupe 2D, bearing VIN
WP0AD2A94HS166412 (the “Porsche”); and

d. One (1) 2014 Maserati Quattroporte, bearing VIN ZAM56PPA7E1084665 (the
““Maserati’’)

2. The Court has jurisdiction over this subject matter pursuant to 28 U.S.C. §§ 1345
and 1355.

3. This Court has in rem jurisdiction over the Defendant Vehicles pursuant to 28
U.S.C. § 1355.

4. This Court has venue over this action pursuant to 28 U.S.C. §§ 1355 and 1395.

FACTS

5. On or about August 16, 2018, a federal grand jury in the Southern District of Florida
returned a sealed Indictment that charged defendant Raul Gorrin Belisario (“Gorrin”), a
Venezuelan national who is presently in Venezuela, on one count of conspiracy to violate the
Foreign Corrupt Practices Act (“FCPA”) in violation of 18 U.S.C. § 371, one count of conspiracy
to commit money laundering in violation of 18 U.S.C. § 1956(h), and nine substantive counts of
laundering of monetary instruments in violation of 18 U.S.C. § 1956(a)(2)(A). See Case No.
9:18-CR-80160-WPD (S.D. Fla.).

6. As alleged in the Indictment, from in or around 2011 through in or around 2017,
Gorrin caused bribe payments totaling at least approximately $94 million to be paid to foreign
Venezuelan officials. As part of the criminal investigation, law enforcement agents identified

certain assets owned by Gorrin, including the Defendant Vehicles. According to the State of
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Florida Department of Highway Safety and Motor Vehicle’s Driver and Vehicle Information
Database (“DAVID”), as of November 2018, the Defendant Vehicles were owned and registered
to Gorrin at an address in Coral Gables, Florida, which is within the Southern District of Florida.

7. In or around November 2018, the Indictment and criminal case were unsealed.
The charges against Gorrin garnered widespread media attention, including in local newspapers.
See, e.g., Jay Weaver and Antonio Maria Delgado, Venezuelan TV mogul with U.S. real estate

fortune charged in South Florida, The Miami Herald, Nov. 21, 2018.!

8. Between on or about November 30, 2018, and on or about December 3, 2018,
shortly after Gorrin’s criminal case became public, duplicate certificates of title were issued for
the Defendant Vehicles. For the Rolls Royce, the Porsche, and the Maserati, the applications for
these duplicate certificates of title were made with Florida driver’s license number G287-681-68-
140-0, purportedly issued to Gorrin. The applications indicated that the original titles had been

“Jost.” For the Ferrari, there was no driver’s license on file, but the application also requested a
duplicate certificate of title because the original was “lost,” and was signed “RG,” purportedly by
“Raul A Gorrin.”

9. Law enforcement agents searched DAVID and learned that Florida driver’s license
number G287-681-68-140-0 did not exist. In fact, a check of DAVID revealed that no Florida
driver’s license has ever been issued to Gorrin. Instead, Gorrin had used a Venezuelan driver’s
license to purchase the Defendant Vehicles.

10. The false Florida driver’s license used to obtain the duplicate titles for the Rolls

Royce, the Porsche, and the Maserati contained Gorrin’s full name, local address, and date of birth.

 

' https://www.miamiherald.com/news/nation-world/world/americas/venezuela/article22 1706585.html

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However, based on photos of Gorrin online and in a law enforcement database, the photo on the
license did not depict Gorrin. In fact, the photo on the driver’s license was the same photo used
in another fraudulent document, a fake Venezuelan passport recovered in January 2019.

11. According to a Department of Homeland Security database, Gorrin last departed
the United States more than a year ago, on or about November 4, 2017, from Opa Locka Airport
in Opa Locka, Florida. There was no record of his return to the United States since then.

12. Between on or about November 30, 2018, and on or about December 3, 2018,
nominal title to the Defendant Vehicles was transferred to Auto Brokers USA Corp. (“Auto
Brokers”), a Florida corporation with a principal address in Homestead, Florida, which is within
the Southern District of Florida. Based on records from DAVID, such transfers occurred using
the aforementioned duplicate certificates of title and were executed by a person purporting to be
Raul Gorrin using the fake Florida driver’s license.

13. The signature for the person purporting to be Gorrin on the executed certificates of
title for the Defendant Vehicles did not match the signature for Gorrin on certificates of title for
other vehicles purchased by Gorrin, or his signature on other documents executed by Gorrin and
sent from his e-mail accounts.

14. On or about January 5, 2019, J.D. reported to the Coral Gables Police Department
that six luxury vehicles belonging to Gorrin had been stolen. These vehicles included the four
Defendant Vehicles, as well as another vehicle. J.D. represented that J.D. was the Defendant
Vehicles’ caretaker, employed by Gorrin while Gorrin was out of the United States. J.D. told
police officers that J.D. had confirmed that Gorrin had not authorized the sale of these vehicles to

Auto Brokers.
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15. According to the police incident report, J.D. reported that on or about January 3,
2019, J.D. discovered that the vehicles had been taken from a residential building’s parking garage.
According to public records, Gorrin, through certain shell companies, owned several apartments
in the building at that address.

16. J.D. told officers that the building’s manager advised J.D. that a person representing
Auto Brokers had collected the vehicles and provided the certificates of title indicating that the
vehicles had been transferred to Auto Brokers.

17. The incident report also indicated that a Coral Gables police officer directly
contacted Gorrin in Venezuela via telephone, and Gorrin advised the officer that he would have a
power of attorney document drafted to allow J.D. to represent Gorrin’s interest in the police
investigation.

18. The Defendant Vehicles are currently located at the following:

a. The Rolls Royce is in the custody of Homeland Security Investigations; and
b. The Ferrari, Porsche, and Maserati are located at Auto Brokers USA Corp.,
29951 South Federal Highway, Homestead, Florida 33033
LEGAL BASIS FOR FORFEITURE

19. _‘ Title 18, United States Code, Section 1028(a)(1) prohibits knowingly and without
lawful authority producing an identification document, authentication feature, or a false
identification document.

20. Title 18, United States Code, Section 981(a)(1)(C) provides for the civil forfeiture
of “[a]ny property, real or personal, which constitutes or is derived from proceeds traceable to a

violation of” Title 18, United States Code, Section 1028.
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CLAIM FOR FORFEITURE

 

21. Based upon the foregoing, the Defendant Assets constitute or are derived from

proceeds traceable to a violation of Title 18, United States Code, Section 1028(a)(1) and are

therefore subject to forfeiture pursuant to Title 18, United States Code, Section 981(a)(1)(C).

WHEREFORE, Plaintiff, United States of America requests, that any and all persons

having any claim to the Defendant Assets be directed to file and serve their verified claims and

answers as required by Rule G(5) of the Supplemental Rules for Certain Admiralty and Maritime

Claims, or suffer default thereof, and further requests that the Court declare the Defendant Vehicles

condemned and forfeited to the United States of America, and that Plaintiff have such other and

further relief as may be just and proper.

By:

Respectfully submitted,

ARIANA FAJARDO ORSHAN
UNITED STATES ATTORNEY

/s/ Nicole Grosnoff.

Nicole Grosnoff

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VERIFICATION
I, Eric Moreno, am a Special Agent of the Department of Homeland Security, Homeland
Security Investigations, and I have read the contents of the foregoing Complaint for Forfeiture Jn

Rem and declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true

and correct.

Executed _es o\ vi \ Sy 2019.

Jz Mh

Eric Moreno
Special Agent
Homeland Security Investigations
